Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 1 of 12



                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

                                  CASE NO. 14-24887-MC-SEITZ/LOUIS

   IN RE APPLICATION OF
   HORNBEAM CORPORATION

   REQUEST FOR DISCOVERY PURSUANT
   TO 28 U.S.C. § 1782
   _____________________________________

               APPLICANT HORNBEAM CORPORATION’S MOTION
        TO REMOVE THE ATTORNEYS’ EYES ONLY DESIGNATION FROM THE
       TRANSCRIPTS OF THE DEPOSITIONS OF THE SUBPOENA RESPONDENTS

       I.       INTRODUCTION

             Applicant Hornbeam Corporation (“Hornbeam”), pursuant to the Court’s Paperless Order

   Granting Applicant’s Motion to Brief Pending Dispute (ECF No. 295), respectfully files this

   Motion to Remove the Attorneys’ Eyes Only Designation from the Transcripts of the

   Depositions of CC Metals and Alloys, LLC, Felman Production, LLC, Felman Trading, Inc.,

   Georgian American Alloys, Inc., Mordechai Korf, Optima Acquisitions, LLC, Optima Group,

   LLC, Optima Fixed Income, LLC, Optima Ventures, LLC, Optima International of Miami, Inc.,

   and 5251 36ST, LLC (“Subpoena Respondents”).1

       II.      PRELIMINARY STATEMENT

             On November 5, 2018, Intervenors Halliwel Assets, Inc. and Panikos Symeou

   (“Intervenors”) and Subpoena Respondents filed a Motion for Hearing on Pending Disputes.

   (ECF No. 292).



   1
    The depositions of Felman Production, LLC, Felman Trading, Inc., CC Metals and Alloys, LLC, Optima Group,
   LLC, and Georgian American Alloys, Inc. were held on October 23, 2018. The depositions of 5251 36ST, LLC,
   Optima Fixed Income, LLC, Optima Ventures, LLC, Optima International of Miami, Inc., and Optima Acquisitions,
   LLC were held on October 24, 2018. The deposition of Mordechai Korf in his personal capacity was held on
   October 25, 2018.
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 2 of 12



             In a Paperless Order, the Court denied the Motion for Hearing on Pending Disputes, but

   granted Movants’ alternative request to brief the matters in dispute. (ECF No. 293). The Court

   allowed the Movants to “file a motion, not to exceed ten pages in length, on or before November

   30, 2018. Opposition(s) thereto shall be filed on or before December 11, 2018, also not to exceed

   ten pages in length. No reply shall be filed.” See id.

             Movants’ Motion for Hearing on Pending Disputes failed to raise another dispute that is

   currently pending in this matter—the issue of Subpoena Respondents’ Attorneys’ Eyes Only

   (“AEO”) designation of certain portions of the deposition transcripts, which Hornbeam sees as

   an inappropriate and even abusive use of the AEO designation. Accordingly, Hornbeam

   requested that it be permitted to brief the issue as part of the briefing schedule laid out in the

   Court’s November 5, 2018 Paperless Order. (ECF No. 294). The Court granted the request on

   November 11, 2018, allowing Hornbeam to, “consistent with the parameters set in the Court's

   Paperless Order on November 5, 2018,” file a motion challenging the confidentiality

   designations. (ECF No. 295).

      III.      BACKGROUND AND RELEVANT FACTS

             This § 1782 case has always been, and continues to be, only about the discovery of

   documents and testimony from the Subpoena Respondents for use in contemplated foreign

   litigation. The contemplated foreign litigation is primarily premised upon an alleged scheme to

   deprive Mr. Vadim Shulman of his investment in Warren Steel Holdings—an entity ultimately

   owned by Messrs. Shulman, Kolomoisky, and Bogolyubov (the latter two individuals being

   partial owners of many of the Subpoena Respondents)—through a series of related-party loans,

   self-dealing transactions, and debt-restructuring. (ECF No. 4 at 11).




                                                      2
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 3 of 12



           After roughly four years of litigation, Hornbeam was finally able to take ten 30(b)(6)

   depositions of the Subpoena Respondents, as well as a deposition of Mordechai Korf—the

   eleventh Subpoena Respondent—in his personal capacity.2

           During the depositions, counsel for Subpoena Respondents designated far too much

   material as AEO. Counsel for Subpoena Respondents first designated a portion of Mr. Korf’s

   testimony as AEO on Day One when Mr. Korf was testifying as a representative of Felman

   Trading, Inc. and counsel for Hornbeam asked Mr. Korf to identify the person whose name had

   been redacted on Exhibit 1, an organizational chart produced by Subpoena Respondents. See

   October 23, 2018 Dep. Tr. at 10.3 Counsel for Subpoena Respondents objected to the question

   and instructed Mr. Korf not to answer, but when counsel for Applicant challenged the objection

   as improper, the parties agreed, as a temporary measure to avoid multiple interruptions of the

   deposition in order to take this and other “instructions not to answer the question” before the

   court, that counsel for Subpoena Respondents would allow Mr. Korf to answer with the

   testimony designated as AEO pending resolution of the dispute by the Court. Counsel for

   Subpoena Respondents cited scope and relevance as the basis for the designation without

   specificity. See October 23, 2018 Dep. Tr. at 10-14. Counsel for Subpoena Respondents also

   designated as AEO Mr. Korf’s testimony about the identities of redacted individuals and entities

   on Exhibit 1 during his testimony on behalf of Felman Trading, Inc. and Felman Production,

   LLC, id. at 18-23, and Optima Group, LLC. Id. at 26-31.




   2
     The 30(b)(6) deposition of Specialty Steel Works (f,k.a. Optima Specialty Steel) is scheduled for December 18,
   2018.
   3
     The portions of the Day One transcript that have been designated AEO are attached hereto as Exhibit 1 in a
   redacted format. If the Court grants Hornbeam’s Motion to File Under Seal, Exhibit 1 will be produced to the court
   in an unredacted format.

                                                           3
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 4 of 12



           On Day Two, while Mr. Korf was acting as a corporate representative for 5251 36ST,

   LLC, counsel for Subpoena Respondents designated testimony regarding the identities of certain

   individuals as AEO. October 24, 2018 Dep. Tr. at 11-14.4 Counsel for Subpoena Respondents

   also designated Mr. Korf’s testimony about the identities of certain individuals as AEO during

   his testimony on behalf of Optima Fixed Income. Id. at 51-60, 62-63. Counsel for Subpoena

   Respondents did the same regarding the identities of individuals who had been redacted on

   Exhibit 48 (an organizational chart produced by Subpoena Respondents) during testimony for

   Optima Ventures, LLC, id. at 85-87, and Exhibit 61 (another organizational chart produced by

   Subpoena Respondents) during testimony for Optima International of Miami, Inc. Id. at 128-29.

           On Day Three, while Mr. Korf was being deposed in his personal capacity, counsel for

   Subpoena Respondents designated certain financial information as AEO. October 25, 2018 Dep.

   Tr. at 30-40.5

           Counsel for Applicant Hornbeam Corporation objected to all of the AEO designations

   during the depositions and retained the right to raise the issue before the Court. October 23,

   2018 Dep. Tr. at 12. Because Subpoena Respondents failed to cite any valid reason for

   designating the information as AEO, counsel for Hornbeam formally objected to the AEO

   designations and requested that they be removed on November 1, 2018. Counsel for Subpoena

   Respondents refused to remove the designations6 and therefore counsel for Hornbeam now

   brings the instant motion to remove the AEO designation from the transcripts.




   4
     The portions of the Day Two transcript that have been designated AEO are attached hereto as Exhibit 2 in a
   redacted format. If the Court grants Hornbeam’s Motion to File Under Seal, Exhibit 2 will be produced to the court
   in an unredacted format.
   5
     The portions of the Day Three transcript that have been designated AEO are attached hereto as Exhibit 3 in a
   redacted format. If the Court grants Hornbeam’s Motion to File Under Seal, Exhibit 3 will be produced to the court
   in an unredacted format.
   6
     See ECF No. 294 Ex. A.

                                                           4
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 5 of 12




       IV.      ARGUMENT

             Pursuant to the Stipulated Protective Order, the designating Party, in this case the

   Subpoena Respondents, have “the burden of demonstrating that the contested Responsive

   Material should be designated Attorneys’ Eyes Only.” (ECF No. 224 at 3(g)). Subpoena

   Respondents have failed to meet their burden, and instead simply claim that the information

   designated as AEO is outside of the scope of the Court’s Omnibus Order (ECF No. 209) and is

   irrelevant to the issues.

             As set forth below, the information designated AEO does not meet the standard set by

   Eleventh Circuit caselaw, and Subpoena Respondents have provided nothing to the contrary.

   Additionally, the questions asked by counsel for Hornbeam were explicitly permitted under the

   Omnibus Order. Thus, the information contained in the responses should not be marked AEO.

                a. Subpoena Respondents Have not Provided Evidence that the Information
                   Designated as AEO Meets the Standard Set by Eleventh Circuit Precedent.

             Making vague and inaccurate objections does not form the proper basis for designating

   information as AEO, a designation which is typically reserved for trade secrets and the like. See

   e.g. Core Laboratories LP v. AmSpec, No. 16-0526, 2017 WL 3585420 at *2 (S.D. Ala. Aug 18,

   2017) (“The court may, for good cause, issue an order to protect a party or person requiring that

   a trade secret or other confidential research, development, or commercial information not be

   revealed or be revealed only in a specified way . . . . [T]he fact that an AEO designation may

   sometimes be appropriate does not mean it must be used in all cases involving sensitive or

   confidential information. The burden is on the movant to show the necessity of the protective

   order, and the movant must meet this burden with a particular and specific demonstration of fact

   as distinguished from stereotyped and conclusory statements.”) (internal quotation marks and

                                                      5
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 6 of 12



   citations omitted); Rubenstein Law, P.A., 2017 WL 385757 at *2 (The standard used to

   determine whether trade secrets and other confidential information are entitled to protection is

   whether the disclosure of such information would result in a “specified harm.”) (citation

   omitted).

           Courts have recognized the harsh effects that an AEO designation can have in litigation

   or on an attorney-client relationship. See Global Material Technologies, Inc. v. Dazheng Metal

   Fibre Co., Ltd., 133 F.Supp.3d 1079, 1084 (N.D. Ill. 2015) (“The AEO designation must be used

   selectively because discovery and trial preparation are made significantly more difficult and

   expensive when an attorney cannot make a complete disclosure of relevant facts to a client and

   because it leaves the litigant in a difficult position to assess whether the arguments put forward

   on its behalf are meritorious.”); Meharg v. I-Flow Corp., 2009 WL 3032327 at *6 (S.D. Ind.

   Sept. 18, 2009) (“Attorneys'-eyes-only disclosure puts attorneys in a very difficult position in

   which they cannot disclose important information to their clients. This difficult situation should

   be avoided when possible.”); Ragland v. Blue Cross Blue Shield of North Dakota, 2013 WL

   3776495 at *1 (D. N.D. June 25, 2013) (“[an attorneys’ eyes only designation] limits the ability

   of the receiving party to view the relevant evidence, fully discuss it with counsel, and make

   intelligent litigation decisions.”).

           Furthermore, AEO designations run afoul of the public policy whereby transparency in

   court proceedings is favored. See Rubenstein Law, P.A. v. Friedman Law Associates, P.L., 16-

   cv-1511, 2017 WL 385757 at *3 (M.D. Fla. Jan. 27, 2017) (“There is a general common law

   right to inspect and copy judicial records and public documents.”) (quoting Nixon v. Warner

   Commc’ns, Inc., 435 U.S. 589, 597 (1978)); AIG Annuity Ins. Co. v. Law Offices of Theodore

   Coates, P.C., 2009 WL 728462 at *1 (D. Colo. Mar. 18, 2009) (Judges have a responsibility to


                                                    6
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 7 of 12



   avoid secrecy in court proceedings because “secret court proceedings are anathema to a free

   society.”) (quoting M.M. v. Zavaras, 939 F.Supp. 799, 801 (D. Colo. 1996)).

             Subpoena Respondents have failed to explain why the AEO designation should apply to

   the identities of certain individuals and certain dollar amounts, or what “specified harm” they

   would suffer without the AEO designation. Additionally, there are no “trade secret[s], or other

   confidential research, development[s], or commercial information” involved such that Subpoena

   Respondents would be at a competitive disadvantage were the information not designated as

   AEO. Finally, and importantly, such an unwarranted AEO designation creates potentially

   insurmountable burdens for applicant in its use of the evidence going forward in the

   contemplated foreign litigation upon which this § 1782 action is based, or any related litigation

   matter.

             Subpoena Respondents have also failed to explain why the designation of AEO is

   necessary when, and if warranted, the less onerous designation of “Confidential” is available.

   Instead, Subpoena Respondents simply argue that the questions and subsequent responses are

   outside the scope of what this court provided in the Omnibus Order and that they are not relevant

   to the relationship or discovery at issue. Subpoena Respondents’ unsupported position is also

   completely contrary to the public policy in favor of transparency in court proceedings.

             For these reasons, Subpoena Respondents have failed to meet their burden of

   demonstrating why the AEO designation is appropriate.




                                                    7
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 8 of 12



               b. The Questions Asked by Counsel for Hornbeam were Permitted by the
                  Omnibus Order and the Information Contained in the Responses Should not
                  be Designated as AEO.

           The Omnibus Order very clearly states that Hornbeam was “authorized to issue and serve

   subpoenas on [Subpoena Respondents] for the testimony of Mordechai Korf and/or each of these

   entities’ key employees regarding…[t]he discovery subject’s corporate structure[.]” (ECF No.

   209 Ex. A). Thus, questions regarding the identities of parties on the corporate structure charts

   are not outside of the scope of the order. Hornbeam is permitted to ask, and know, who the

   shareholders, owners, and parties related to the Subpoena Respondents are. Their status on the

   corporate structure charts make them per se relevant under the Omnibus Order.

           Additionally, questions regarding Mr. Korf’s financial and business history are permitted

   pursuant to the language in the Omnibus Order authorizing the testimony of: “The discovery

   subject’s financial records concerning Warren Steel, business transactions with Warren Steel, or

   loans to Warren Steel, including the source of each loans origination and the account from which

   each loan was made.” Id. The complexity of the related party loans and self-dealing scheme

   makes it pertinent for Hornbeam to understand where the loan funds originated and whether the

   loans were made in the ordinary course of the Subpoena Respondents’ business, or if there was

   outside and, perhaps, illicit funding. Furthermore, Mr. Korf served as the President of Warren

   Steel, the entity at the heart of this matter, and thus his business history is certainly relevant.

           Therefore, the questions asked by counsel for Hornbeam during the depositions were

   asked pursuant to the language in the Omnibus Order, are relevant to this matter, and should not

   be designated as AEO.




                                                      8
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 9 of 12




      V.      CONCLUSION

           For these reasons, Applicant Hornbeam Corporation respectfully requests that this Court

   remove the AEO designation from the deposition transcripts of Subpoena Respondents.




                                                  9
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 10 of 12



   Date: November 30, 2018            Respectfully submitted

                                      Moscowitz & Moscowitz, P.A.
                                      Attorneys for Applicant Hornbeam, Intervenor
                                      Vadim Shulman, Intervenor Bracha Foundation
                                      201 Alhambra Circle, Suite 1200
                                      Coral Gables, FL 33134
                                      Telephone: (305) 379-8300
                                      Facsimile: (305) 379-4404

                                      By: /s/ Jane Moscowitz
                                      Jane Moscowitz
                                      Florida Bar No. 586498
                                      jmoscowitz@moscowitz.com

                                      Carol Elder Bruce [admitted pro hac vice]
                                      cbruce@mmlawus.com
                                      MURPHY & MCGONIGLE
                                      Robert P. Howard, Jr. [admitted pro hac vice]
                                      rhoward@mmlawus.com
                                      Alexandra Marinzel [admitted pro hac vice]
                                      alexandra.marinzel@mmlawus.com
                                      1001 G Street, N.W. Seventh Floor
                                      Washington, DC 20001
                                      Telephone: (202) 220-1924




                                        10
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 11 of 12




            CERTIFICATE OF CONFERENCE PURSUANT TO S.D. FLA. L.R. 7.1

          I HEREBY CERTIFY that Carol E. Bruce, counsel for Applicant Hornbeam Corporation,

   met and conferred with Bruce Marks, counsel for Intervenors, Jorge Guttman, counsel for

   Subpoena Respondents, and Andrew Kruppa, counsel for Specialty Steel Works, Inc., regarding

   the substance and relief sought by this Motion in a good faith attempt at resolving the issue

   raised herein, but was unable to obtain agreement as of the time of filing this Motion.


                                                By:     /s/ Carol Elder Bruce




                                                   11
Case 1:14-cv-24887-LFL Document 302 Entered on FLSD Docket 11/30/2018 Page 12 of 12



                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 30, 2018, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF.



                                                By: /s/ Jane Moscowitz




                                                  12
